947 F.2d 936
    Longenberger (Barry, Beverly)v.Jumper (Harry), Smith (Theodore), Sutliff (Rosemary), Samsel(Douglas), Orner (Robert), McCreary (Jay), Waltman(William), Cole (Gary), Schalles (Rodney), Markle (Lester),Zoning Hearing Board of Borough of Nescopeck, Council ofNescopeck, Borough of Nescopeck
    NO. 91-5330
    United States Court of Appeals,Third Circuit.
    OCT 21, 1991
    
      Appeal From:  M.D.Pa.,
      Conaboy, J.
    
    
      1
      AFFIRMED.
    
    